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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

  UNITED STATES OF AMERICA                      *
                                                *
  v.                                            *      Criminal No. 24-00114-TFM
                                                *
  GERALD BILL CASTILLE,                         *
        aka CASTILLO, aka G,                    *
        aka GZY, aka JEEZY,                     *
  KRYSTLE NICOLE BREAUX,                        *
        aka KRYSTLE KENNEDY                     *
        BREAUX, aka B, aka B NOW,               *
  JESUS EDUARDO GUARDIOLA,                      *
  EDUARDO MARTINEZ, JR.,                        *
        aka EDDIE MONSTER,                      *
  JOHN DAVID CLARKE,                            *
        aka CLUB, aka STACK,                    *
        aka STACKHOUSE, aka BOBE,               *
        aka NED,                                *
  DEMETRIUS JAMES LUTIN,                        *
        aka OG SMOOTH, aka MOOK,                *
  CEDRIC DARNELL WILLIAMS,                      *
        aka SAID OLD SCHOOL,                    *
        aka CED,                                *
  RONALD DARNELL PHILLIPS,                      *
        aka RON AUSTAL NEW,                     *
        aka RON FAM LINE,                       *
  NICHOLAS FERLANDO HAYNIE,                     *
        aka ARK DUECE, aka DUECE                *


                           Forfeiture Notice: Bill of Particulars
                                     Criminal Forfeiture
                          Title 21, United States Code, Section 853

         Comes now the United States of America, by and through the United States

  Attorney, and pursuant to Federal Rule of Criminal Procedure 32.2(a), hereby gives

  notice that Item 9 in the original Forfeiture Notice of the Indictment was identified with
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  typographical errors in the VIN number, and it is correctly identified as follows:

          9.     One 2018 black Dodge Challenger, VIN 2C3CDZBT0JH297253.

          Furthermore, the United States of America, by and through the United States

  Attorney, pursuant to Federal Rule of Criminal Procedure 32.2(a), alleges that the

  following specific property is subject to forfeiture on the basis of the allegations set forth

  in the Forfeiture Notice of the Indictment in the above-styled criminal case:

          14.    $190,000.00 in United States currency, more or less, seized from JESUS

  EDUARDO GUARDIOLA on August 28, 2024;

          15.    One white 2021 Chevrolet pickup truck, Texas license plate TX-

  VMB4719, VIN 3GCPWDED9MG200425;

          16.    Seven miscellaneous gun magazines seized from the residence of

  GERALD BILL CASTILLE on Shan Drive in Mobile, Alabama on December 3 and 4,

  2022;

          17.    393 rounds of miscellaneous ammunition seized from the residence of

  GERALD BILL CASTILLE on Shan Drive in Mobile, Alabama on December 3 and 4,

  2022;

          18.    Three boxes of miscellaneous ammunition seized from the residence of

  GERALD BILL CASTILLE on Shan Drive in Mobile, Alabama, on December 4, 2022;

          19.    256 rounds of miscellaneous ammunition seized from the residence of

  KRYSTLE NICOLE BREAUX on Provincial Blvd in Katy, Texas, on January 12,

  2023;




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         20.     Six miscellaneous magazines seized from the residence of KRYSTLE

  NICOLE BREAUX on Provincial Blvd in Katy, Texas on January 12, 2023;

         21.     Kimber .380 Pistol, serial number P0106565, with seven rounds of

  ammunition seized from CEDRIC DARNELL WILLIAMS on or about July 31, 2024;

         22.     $870.00 in U.S. Currency, more or less, seized from JOHN DAVID

  CLARKE on July 29, 2024; and

         23.     $2,505.00 in U.S. Currency, more or less, seized from NICHOLAS

  FERLANDO HAYNIE on September 24, 2024.

         This Bill of Particulars supplements, and does not replace, the Forfeiture Notice

  included in the Indictment. It does not limit the United States from seeking the forfeiture

  of additional specific property or limit the United States from seeking the imposition of a

  forfeiture money judgment.

                                                 Respectfully Submitted,

                                                 SEAN P. COSTELLO
                                                 UNITED STATES ATTORNEY

                                         By:     /s/ Gloria A. Bedwell
                                                 Gloria A. Bedwell
                                                 Assistant United States Attorney
                                                 United States Attorney's Office
                                                 63 South Royal Street, Suite 600
                                                 Mobile, AL 36602
                                                 Telephone (251) 441-5845

                                         By:      /s/ Justin Kopf
                                                 Justin Kopf
                                                 Assistant United States Attorney
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                                                 63 South Royal Street, Suite 600
                                                 Mobile, AL 36602
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                              CERTIFICATE OF SERVICE

          I hereby certify that on October 8, 2024, I electronically filed the foregoing with
  the Clerk of the Court by using the CM/ECF system, which will send a notice of
  electronic filing to counsel of record.

                                                    /s/ Justin Kopf
                                                   Justin Kopf
                                                   Assistant United States Attorney




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